                   Case 2:23-cr-00656-DMG Document 33 Filed 05/03/24 Page 1 of 10 Page ID #:377




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                     16
                     17                                UNITED STATES DISTRICT COURT
                     18                              CENTRAL DISTRICT OF CALIFORNIA
                     19                                     WESTERN DIVISION
                     20 UNITED STATES OF AMERICA,                         Case No. CR 23-656-DMG
                     21                       Plaintiff,
                                                                          DEFENDANT SCOTT SIBELLA’S
                     22                  v.                               SUPPLEMENTAL EXHIBITS IN
                                                                          SUPPORT OF SENTENCING
                     23 SCOTT SIBELLA,                                    MEMORANDUM
                     24                       Defendant.                  Judge:          Hon. Dolly M. Gee
                                                                          Date:           May 8, 2024
                     25                                                   Time:           3:00 p.m.
                     26                                                   Courtroom:      8C

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Kendall Brill
& Kelly LLP
10100 Santa Monica Blvd.
Suite 1725
                             604405656                                 1                       Case No. CR 23-656-DMG
Los Angeles, CA 90067             SCOTT SIBELLA’S SUPPLEMENTAL EXHIBITS IN SUPPORT OF SENTENCING MEMORANDUM
                   Case 2:23-cr-00656-DMG Document 33 Filed 05/03/24 Page 2 of 10 Page ID #:378




                           1               Defendant Scott Sibella, by and through his counsel of record, hereby
                           2 respectfully submits his supplemental exhibits in support of sentencing
                           3 memorandum.
                           4
                           5
                               DATED: May 3, 2024                       KENDALL BRILL & KELLY LLP
                           6
                           7
                           8                                            By:               /s/
                           9                                                  Jeffrey H. Rutherford
                                                                              Attorneys for Defendant Scott Sibella
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                               604405656                                 2                       Case No. CR 23-656-DMG
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                   Case 2:23-cr-00656-DMG Document 33 Filed 05/03/24 Page 3 of 10 Page ID #:379




                           1               Sibella’s Supplemental Exhibits to Sentencing Memorandum
                                                               Letters of Support
                           2
                                No.                            Description                    Exhibit Number
                           3    1.          Boasberg, William                                 F-1
                           4    2.          Horowitz, Ben                                     F-2
                                3.          McMahill, Kevin                                   F-3
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                               604405656                                 3                       Case No. CR 23-656-DMG
Los Angeles, CA 90067               SCOTT SIBELLA’S SUPPLEMENTAL EXHIBITS IN SUPPORT OF SENTENCING MEMORANDUM
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            EXHIBIT F-1
Case 2:23-cr-00656-DMG Document 33 Filed 05/03/24 Page 5 of 10 Page ID #:381




 February 26, 2024

The Honorable Dolly M. Gee
United States District Judge
Central District of California
Los Angeles, CA 90012


 Dear Judge Gee:


 Thank you, Your Honor, for allowing me to write this letter on behalf of a good friend and a business
 associate of many years, Mr. Scott Sibella, who will come before you soon for sentencing.


 I've known Scott since 2007 and consider him a friend, co-worker and a mentor. I first became
 acquainted with Scott in 2007 when I was working for MGM as the Chief Financial Officer of The
 Mirage in Las Vegas. I worked for MGM for approximately 13 years from 2005-2018 in numerous
 capacities including Chief Financial Officer of several strip properties from 2005-2015 as well as
 President of MGM National Harbor in Maryland (2015-2017) and the Beau Rivage in Mississippi (2017-
 2018). I left MGM in 2018 to move home to New Orleans, where I was born and raised, to be closer to
 family. I am currently the COO of Key Real Estate based out of New Orleans, Louisiana. Key Real
 Estate is a real estate company that focuses on multi-family development, acquisition, and property
 management.


 In the 17 years since I have known Scott, I would describe him to be extraordinarily hard working, a
 family man, a friend and an honest, dynamic leader with high integrity. When I worked directly for Scott
 from 2007-2010, I can tell you that he was a person of great character. He took his role as President of
 the Mirage very serious and was unwavering as it relates to his role in compliance. Scott was a leader
 that was honest, followed the rules and always stressed to his employees the importance of following the
 rules, especially since a gaming company's most important asset is its gaming license.


 Your honor, I think it is impo1tant to recognize Mr. Sibella as an upstanding member of the Las Vegas
 community his entire life. He has been an extremely active participant in many community causes from
 Make -a -Wish Foundation; to Keep Memory Alive (a local medical treatment entity that partners with the
 Cleveland Clinics Center for Brain Health here in Las Vegas; Four Square, a local foodbank; Shade Tree,
 (a center that helps displaced women affected by domestic violence). In addition, when I worked with
 Scott, he hosted an annual event to raise money for sheltered dogs that needed a home that included
 adoption of pets into local homes across Las Vegas.


 I'm asking that when Scott comes before you for sentencing you give thought to prescribed community
 service instead of incarceration. I think a man of Scott's immense talents can be beneficial to so many
 worthwhile causes in Las Vegas and beyond, and that leniency is appropriate in this case.




                                              EXHIBIT F-1
                                                Page 1
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Thank you, Yom Honor. And, once again, I'm very appreciative of the opportunity to provide my
personal perspective of Scott Sibella. Thank you for your consideration.


Most sincerely yours,




 William Boasberg




                                           EXHIBIT F-1
                                             Page 2
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            EXHIBIT F-2
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                                             norow z
PERSONAL & CONFIDENTIAL

May2,2024

Honorable Dolly M. Gee
Chief District Judge
United States Courthouse
350 West 1st Street, Courtroom 8C, 8th Floor
Los Angeles, CA, 90012

Dear Judge Gee,

I am writing this letter as a character reference for Scott Sibella who is scheduled to come before you for
sentencing in the near future.

In my position as Founding Partner of Andreessen Horowitz, the United States' leading technology
Venture Capital Finn, I have had many opportunities to observe the ethics and character ofCEOs from
small to large corporations both as an investor and a board member. As you might imagine, during that
time, I have seen everything from perfect ethics and governance to criminal behavior. As a former, public
company CEO myself, I fully understand the responsibilities of people in leadership positions to maintain
the highest standards in order preserve the integrity of their companies, but contribute to the systemic
integrity of society as a whole.

It is in that context that I make my recommendation. I have known Scott for several years both in a
friendly and a business context as a customer of Resorts World. During that time, he has acted with total
integrity, been straightforward in his dealings and has always kept his word. Beyond that, he has
contributed heavily to our community here in Las Vegas and been a standup citizen at every opportunity.
He bas contributed heavily to our local charities as well as volunteered to help others, develop young
talent, and been a great friend to all that know him.




                                                                  _,,_..-- ...




                                                     EXHIBIT F-2
                                                       Page 3
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            EXHIBIT F-3
Case 2:23-cr-00656-DMG Document 33 Filed 05/03/24 Page 10 of 10 Page ID #:386




April 30, 2024


The Honorable Dolly M. Gee
United States District Judge
Central District of California
Los Angeles, California 90012

Dear Judge Gee:

My name is Kevin McMahill, and this is a letter in support of Scott Sibella, whom I call a friend
and have known for almost seven years. For as long as I have known him, he has displayed
unwavering support to Las Vegas Metropolitan Police Department.
Scott assisted our department in creating the Good Ticket Award, an employee appreciat10n
program that recognizes officers for their heroic acts. Thanks to his generous donations, we are
able to honor many more officers for their courage, humanity, and compassion for our community.
Scott was integral in providing and hosting a recruiting event at Resorts World that helped our
agency test over 800 applicants. Along with securing the venue, he arranged advertisement for the
event that greatly benefited our recruiting efforts.
Every interaction and experience with Scott have been nothing short of exceptional. What he is
accused of is out of character and doesn't represent the person I've come to know.
Thank you for taking the time to consider my experiences and feelings regarding Scoot Sibella.


Sincerely,




Las Vegas Metropolitan Police Department




                                          EXHIBIT F-3
                                            Page 4
